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EXHIBIT A
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

x
In re Chapter 11
Nortel Networks Inc., et al.,' Case No. 09-10138 (KG)
Debtors. Jointly Administered
. RE: DI. |
x

ORDER SHORTENING NOTICE RELATING TO DEBTORS’ MOTION

FOR AN ORDER APPROVING THE ASSUMPTIONAND ASSIGNMENT

OF CERTAIN ADDITIONAL EXECUTORY CONTRACTS PURSUANT
TO THE SALE OF THE DEBTORS’ ENTERPRISE SOLUTIONS BUSINESS

Upon the motion dated December 17, 2009 (the “Motion to Shorten”)’ of Nortel
Networks Inc. and its affiliated debtors, as debtors and debtors in possession in the above-
captioned cases (the “Debtors”’), for entry of an order, as more fully described in the Motion to
Shorten, pursuant to section 102(1) of the Bankruptcy Code, Bankruptcy Rule 9006 and Local
Rule 9006-1(e), shortening the notice period related to the Debtors’ Motion (the “Motion”) for
an order (a) approving the assumption and assignment of the Verizon Contracts in connection
with the sale of the Debtors’ Enterprise Solutions business to Avaya Inc. (“Avaya”) as purchaser
(together with its designees, the “Purchaser’’) in accordance with the terms and conditions of the

Amended and Restated Asset and Share Sale Agreement entered into by the Debtors, certain of

The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s tax identification

number, are: Nortel Networks Inc. (6332), Nortel Networks Capital Corporation (9620), Nortel Altsystems Inc,
(9769), Nortel Altsystems International Inc. (5596), Xros, Inc. (4181), Sonoma Systems (2073), Qtera Corporation
(0251), CoreTek, Inc. (5722), Nortel Networks Applications Management Solutions Inc. (2846), Nortel Networks
Optical Components Inc. (3545), Nortel Networks HPOCS Inc. (3546), Architel Systems (U.S.) Corporation (3826),
Nortel Networks International Inc. (0358), Northern Telecom International Inc. (6286), Nortel Networks Cable
Solutions Inc. (0567) and Nortel Networks (CALA) Inc. (4226). Addresses for the Debtors can be found in the
Debtors’ petitions, which are available at http://chapter1 1.epiqsystems.com/nortel.

Capitalized terms used but not defined herein shall have the meaning ascribed to them in the Motion to
Shorten.
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their affiliates and the Purchaser dated September 14, 2009, as may be subsequently amended,
and (b) granting them such other and further relief as the Court deems just and proper; and
adequate notice of this Motion to Shorten and the Motion having been given; and it appearing
that no other or further notice need be provided; and the Court having jurisdiction to consider the
Motion to Shorten and the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and
the Court having determined that consideration of the Motion to Shorten is a core proceeding
pursuant to 28 U.S.C. § 157(b)(2); and the Court having determined that the legal and factual
bases set forth in the Motion to Shorten establish just cause for the relief requested in the Motion
to Shorten, and that such relief is in the best interests of the Debtors, their estates, their creditors
and the parties in interest; the Court having determined that “cause” exists to shorten the notice
period related to this Motion to Shorten; and after due deliberation and sufficient cause appearing
therefore;

IT IS HEREBY ORDERED THAT:

1. The Motion will be considered at the hearing scheduled for December 17, 2009 at
10:00 a.m. (Eastern Time).

2. Objections, if any, to the Motion shall be filed and served in accordance with the
Local Rules of this Court by no later than December 17, 2009 at 10:00 a.m. (Eastern Time).

3, The Court retains jurisdiction with respect to all matters arising from or related to
the implementation of this Order.

Dated: , 2009
Wilmington, Delaware

THE HONORABLE KEVIN GROSS
UNITED STATES BANKRUPTCY JUDGE
